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                         EXHIBIT 3C
                         PLAN PAYMENTS ON 417 LOANS
  Deed Of Trust Held     Loan #      Interest         Interest Only Pmt   Amort Pmt
  Arvest                 1705360     0.00%            0                   0
  Arvest                 4064848     4.50%            1,357               2,034
  Arvest                 4243330     4.52%            3,932               5,879
  Arvest                 4319350     4.50%            99                  148
  Bank of Bolivar        6.1961      4.75%            1,613               2,349
  Bank of Missouri       133850      6.00%            0                   3,502
  Bank of Missouri       136845          6.36%
                                                      0                   4,361
  Bank of Missouri       139634          5.93%        0                   3,595
  Bank of Missouri       160778          5.75%        0                   835
  Great Southern Bank    96193492        5.25%        256                 400
  Great Southern Bank    96193506        5.25%        135                 211
  Great Southern Bank    96195339        5.25%        169                 264
  Great Southern Bank    96196262        5.50%        110                 168
  Great Southern Bank    96196270        5.50%        108                 165
  Great Southern Bank    96272856        5.50%
                                                      851                 1,295
  Great Southern Bank    96199040        5.25%        1,405               2,193
  Great Southern Bank    96205792        5.25%        1,517               2,368
  Great Southern Bank    96212381        5.50%        1,624               2,471
  Great Southern Bank    Misc per Stip   5.50%        31                  48
  Guaranty Bank          5100190938      5.00%        2,050               3,290
  Guaranty Bank          5400228881      5.00%        1,773               2,845
  Guaranty Bank          5400228909      5.00%        1,805               2,561
  Guaranty Bank          5400229052      5.00%        1,334               2,141
  Guaranty Bank          5400229090      5.00%        0                   0
  Guaranty Bank          5400229140      5.00%        1,814               2,574
  Legacy Bank & Trust    40001644        5.25%        1,843               2,554
  Legacy Bank & Trust    40003477        5.25%        2,118               2,935
  Legacy Bank & Trust    40003752        5.19%        1,385               1,929
  Legacy Bank & Trust    40003612        2.45%        510                 1,124
  Mid-Missouri Bank      322289001       6.25%        2,245               3,759
  Mid-Missouri Bank      322289002       6.25%        2,431               4,070

  Mid-Missouri Bank      322289101       5.00%        61                  117
  Old Missouri Bank      9452            4.69%        1,837               3,061

  Old Missouri Bank      9512            4.69%        2,091               3,484
  Old Missouri Bank      12628           6.00%        114                 166
  Old Missouri Bank      10121           4.69%        1,539               2,564
  Old Missouri Bank      0               0.00%        0                   0
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                             EXHIBIT 3C
                             PLAN PAYMENTS ON 417 LOANS



  Simmons Bank               3016984       6.00%          765       1,111

  Simmons Bank               3017325       6.00%          1,145     1,664
  Simmons Bank               3115501       6.00%          745       1,082
  Simmons Bank               3115524       6.00%          820       1,191
  Simmons Bank               3116262       6.00%          1,339     1,945
  Simmons Bank               3116305       6.00%          909       1,321
  Simmons Bank               4019868       6.00%          578       840
  Simmons Bank               10361726      6.00%          1,501     2,181
  Simmons Bank               40001896      6.00%          1,180     1,715
  Simmons Bank               50000476      6.00%          1,467     1,777
  Southern Bank              639353        5.50%          5,473     8,327
  Southern Bank              661752        5.00%          0         0
  Southern Bank              1600090324    5.50%          2,172     3,305
  Southern Bank              635903        0.00%          0         0
  SoMo Bank of Marshfield    60016056      4.95%          485       783
  SoMo Bank of Marshfield    60017340      4.95%          1,576     2,544
  SoMo Bank of Marshfield    60017489      4.95%          1,517     2,449
  SoMo Bank of Marshfield    60017564      4.95%          149       240
  SoMo Bank of Marshfield    60019096      4.95%          1,836     2,964
  Systematic Savings Bank    1788          5.00%          1,615     2,710

  Systematic Savings Bank    6650          6.35%          202       267
  Systematic Savings Bank    6651          6.35%          382       504
  Systematic Savings Bank    6722          6.38%          79        104
  Systematic Savings Bank    6881          6.65%          218       275
  Systematic Savings Bank    6817          6.50%          879       1,135
